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                         UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA




 LESTER PUTNEY                                        )   CIVIL ACTION NO: 2:20-cv-00874.
                                                      )
               Plaintiff,                             )
                                                      )
    vs.                                               )   COMPLAINT FOR DAMAGES
                                                      )   AND DEMAND FOR JURY
 E.I. DU PONT DE NEMOURS AND                          )   TRIAL
 COMPANY                                              )
                                                      )
               Defendant.                             )
                                                      )



                                   NATURE OF THE CASE

          1.    This action is brought on behalf of Plaintiff, Lester Putney, who was injured by

Defendant E.I. DU PONT DE NEMOURS AND COMPANY (hereinafter referred to as

“Defendant”) as a result of its intentional, malicious, knowing, reckless and/or negligent acts

and/or omissions in connection with contamination of human drinking water supplies used by

Plaintiff Lester Putney

          2.    At all relevant times, Defendant owned, operated, maintained, managed and/or

otherwise controlled a manufacturing facility in Wood County, West Virginia, known as the

“Washington Works Plant” (hereinafter referred to as the “Plant”).

          3.    As a result of Defendant’s negligent, improper, inadequate, inappropriate and/or

otherwise unlawful conduct in its ownership, operation, maintenance, management and/or control

of the Plant, Plaintiff has suffered injuries for which he seeks redress and damages.

          4.    Consequently, Plaintiff Lester Putney seeks compensatory and punitive damages,


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costs incurred and to be incurred by Plaintiff, and any other damages that the Court or jury may

deem appropriate, as a result of Defendant’s conduct, which has caused Plaintiff Lester Putney to

suffer from conditions including, but not limited to, kidney cancer as well as other severe and

personal injuries which are permanent and lasting in nature, physical pain and mental anguish,

including diminished enjoyment of life, as well as the need for lifelong medical treatment,

monitoring and/or medications.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

the amount in controversy as to the Plaintiff exceeds $75,000.00, exclusive of interest and costs,

and because Defendant is incorporated and has its principal places of business in states other than

the state in which the named Plaintiff resides.

       6.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because, inter

alia, a substantial part of the events giving rise to the Plaintiff Lester Putney claims occurred in,

and the Defendants transact business in, this district.

                                       PARTY PLAINTIFF

       7.      Plaintiff, Lester Putney, is a citizen of the United States of America, and is a

resident of the State of West Virginia with an address of 251 Burdette Additional Dr., Point

Pleasant, West Virginia 25550.

       8.      Plaintiff, Lester Putney, was born on February 23, 1948.

       9.      Upon information and belief Plaintiff, Lester Putney, resided and/or worked in at

least one of the contaminated water districts including, but not limited to the Mason County Public

Service water district starting in, about, or before 1979 to 2003.

       10.     As result of Defendant’s acts and/or omissions at the Plant, Plaintiff Lester Putney,



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was diagnosed with kidney cancer in or about May 2020, and was caused to sustain severe and

permanent personal injuries, pain, suffering, and emotional distress.

       11.     The injuries and damages sustained by Plaintiff, Lester Putney, were caused by

Defendant’s acts and/or omissions.

       12.     Plaintiff Lester Putney shall herein be referred to as “Plaintiff.”

                                     PARTY DEFENDANT

       13.     Upon information and belief, Defendant E.I. DU PONT DE NEMOURS AND

COMPANY (hereinafter referred to as “Defendant”) is a Delaware corporation, having a principal

place of business at 1007 Market Street, Wilmington, Delaware 19898.

       14.     Upon information and belief, Defendant has transacted and conducted business in

the State of West Virginia.

       15.     Upon information and belief, Defendant has derived substantial revenue from

goods and products used in the State of West Virginia.

       16.     Upon information and belief, Defendant expected or should have expected its acts

to have consequences within the State of West Virginia and derived substantial revenue from

interstate commerce within the United States and the State of West Virginia, more particularly.

                                  FACTUAL BACKGROUND

       17.     Since the early 1950’s, in connection with its manufacturing operations, Defendant

has used at the Plant one or more materials that contain, incorporate, include and/or degrade into

perfluorooctanoic acid (hereinafter referred to as “PFOA”) and/or ammonium perfluorooctanoate

(a/k/a C-8/APFO/PFOA) (hereinafter referred to as “C-8”).

       18.     During the course of its operations at the Plant, Defendant has negligently,

recklessly, maliciously, knowingly, carelessly, wrongfully and/or intentionally allowed, caused,



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and/or otherwise permitted and is continuing to so allow, cause and/or otherwise permit C-8 to be

discharged, vented, emitted and/or otherwise released from the Plant into the environment at, under

and/or surrounding the Plant, including into air, soil, sediment and water, in such a manner as to

result in C-8 contamination of human drinking water supplies (hereinafter referred to as the

“Releases”).

         19.   Since the construction of its manufacturing operations at the Plant, Defendant has

been aware that one or more operations and equipment used at the Plant involving C-8 would allow

and/or permit Releases. Despite such knowledge, Defendant has negligently, recklessly,

maliciously, knowingly, carelessly, wrongfully and/or intentionally conducted such operations

and/or used such equipment with the understanding and/or expectation that such Releases would

and/or could occur, and/or were likely to occur, without additional control and/or abatement

equipment in place.

         20.   By at least 1954, concerns about the potential toxicity of C-8 had been raised

internally, which led Defendant’s own researchers to conclude by at least 1961 that C-8 was toxic

and, according to Defendant’s own Toxicology Section Chief, should be “handled with extreme

care.”

         21.   By 1976, Defendant was aware of reports from researchers finding organic fluorine

in samples of human blood from blood banks in the United States, which such researchers believed

to be a potential result of C-8 exposure.

         22.   By 1978, the 3M Company (hereinafter referred to as “3M”), Defendant’s C-8

supplier at the time, informed Defendant’s Medical Director that 3M had collected blood samples

from its workers who had been exposed to C-8 and that such samples contained organic fluorine.

         23.   In 1978, Defendant’s Medical Director authorized a plan to review and monitor the



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health conditions of potentially exposed workers to assess whether any negative health effects

were attributable to that C-8 exposure. Such monitoring would include obtaining blood samples

from those workers and analyzing them for the presence of organic fluorine content.

       24.        In 1978, Defendant’s Medical Director authored and published an article that

acknowledged Defendant’s duty to report potential health hazards related to the materials it

handles at its manufacturing facilities (hereinafter referred to as the “1978 Article”). Specifically,

Defendant’s Medical Director acknowledged that Defendant had and has a “duty to report health

hazards” and therefore “should disclose health-hazard information,” and that to “lay all the facts

on the table” is “the only responsible and ethical way to go,” as “[t]o do less would be … morally

irresponsible.”

       25.        In sworn deposition testimony in 2004, Defendant’s former Medical Director

acknowledged that Defendant’s duty to report potential health hazards from materials it uses at its

Plant, as previously described in the 1978 Article, extends to the communities in which

Defendant’s plants are located.

       26.        By March 1979, Defendant was in possession of data suggesting that its workers

exposed to C-8 had a significantly higher incidence of various adverse health problems as

compared to unexposed workers. Specifically, the number of abnormal liver function tests in C-8

exposed workers was markedly higher than in unexposed workers.

       27.        Despite this knowledge, in 1979, Defendant failed to report the above-detailed

results, or the results of its health status analysis in comparison to unexposed workers, to any

government agency or community near any of its manufacturing facilities handling C-8.

       28.        By 1980, Defendant had confirmed internally that C-8 “is toxic,” that “people

accumulate C-8”, and “continued exposure is not tolerable.”



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       29.     In 1981, Defendant was in possession of information indicating reports from 3M of

birth defects in the eyes of baby laboratory rats who were exposed to C-8.

       30.     In 1981, in response to those findings of eye defects, Defendant prepared and

implemented an internal study of its own female employees at the Plant exposed to C-8 to

determine if any similar eye or facial defects had occurred among their children (hereinafter

referred to as the “1981 Plant Pregnancy Study”). The study’s purpose was specifically to

determine if “[p]regnancy outcome among female Washington Works employees is causally

related to their occupational exposure to C-8,” as noted by Defendant in its own study protocol.

       31.     Furthermore, in its 1981 Pregnancy Study, Defendant specifically noted that

finding “2 malformations in 10 exposed live births is a significantly higher rate than a national rate

… [and] is also significantly higher than a plant rate,” and would be considered a “statistically

significant excess” of such birth defects.

       32.     After instituting the protocol for the 1981 Pregnancy Study, Defendant collected

information, including blood results and umbilical cord blood, from female Plant employees and

their babies. The Plant doctor also conducted interviews of those employees. This information

collectively revealed that of seven babies born to female Plant employees exposed to C-8 through

manufacturing operations at the Plant, two were born with defects in their eye and/or facial area,

and also had significantly elevated levels of C-8 in their blood. Therefore, these results

demonstrated the ability of C-8 to cross the placenta from an exposed mother to her child in

gestation.

       33.     After learning of these results indicating a “statistically significant excess” of such

defects as defined by Defendant’s own 1981 Pregnancy Study protocol, which was specifically

designed by Defendant to assess the causal connection between C-8 exposure and such harm,



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Defendant intentionally and purposefully chose not to finalize, publish and/or otherwise release

and/or disclose the results of that study to anyone outside of Defendant’s own operations.

       34.     In addition, by the end of 1981, Defendant was aware that C-8 was likely being

released from the Plant into the surrounding air, and that such C-8 air emissions were likely leaving

the boundaries of the Plant itself.

       35.     In March 1982, Defendant reported to the United States Environmental Protection

Agency (hereinafter referred to as the “USEPA”) that further internal analysis conducted by both

3M and Defendant suggested that eye defects observed in baby rats exposed to C-8 had no causal

link to C-8 exposure. Importantly, at that time Defendant failed to disclose or report to USEPA, or

the general public, regarding any of the “causal” results in Defendant’s investigation of the human

babies born to C-8 exposed mothers.

       36.     In November 1982, Defendant’s Medical Director noted that Defendant did not

have adequate “knowledge of the chronic health effects from long-term exposure to low levels of”

C-8, that C-8 “is retained in the blood for a long time,” that there “is obviously great potential for

current or future exposure of members of the local community from emissions” from the Plant,

and recommended that all “available practical steps be taken to reduce this exposure.”

       37.     In 1984, several male workers at the Plant, who had been exposed to C-8 at that

point for a few years, complained that their wives were having difficulty conceiving children.

Despite this report, Defendant did not investigate the claim.

       38.     By 1984, Defendant began a program through which it secretly collected samples

of tap water reportedly sourced from public drinking water supplies located near the Plant.

Defendant conducted this program by asking Plant employees to collect the samples from local

businesses and/or their own homes. Defendant then internally analyzed these samples in order to



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assess the level of C-8 content.

        39.      By 1984, Defendant developed a methodology for analyzing water samples to

assess C-8 content with a detection limit of 0.6 parts per billion (hereinafter referred to as “ppb”)

or 600 part per trillion (hereinafter referred to as “ppt”).

        40.      In 1984, Defendant’s internal analyses of the above-described samples collected

near the Plant indicated that C-8 was present in the public water sources of locations in both Ohio

(specifically, from the Little Hocking Water Association (hereinafter referred to as “LHWA”)) and

West Virginia.

        41.      In 1984, Defendant was aware that the well field for the impacted LHWA public

water supply was located upstream from any effluent discharged to the Ohio River from the Plant;

however, it was located in the prevailing wind direction from the Plant.

        42.      In 1984, after obtaining the above-detailed data, Defendant held a meeting at its

corporate headquarters in Wilmington, Delaware, to discuss issues surrounding C-8 (hereinafter

referred to as the “1984 Meeting”).

        43.      During the 1984 Meeting, Defendant employees in attendance discussed the

existence of technologies that could further control C-8 emissions from its manufacturing sites,

and potential replacement materials that could eliminate any further C-8 emissions from its

manufacturing operations.

        44.      During the 1984 Meeting, Defendant employees in attendance described the C-8

issue as “one of corporate image, and corporate liability. Liability was further defined as the

“incremental liability from this point on if we do nothing as we are already liable for the past 32

years of operation.”

        45.      During the 1984 Meeting, the Defendant employees in attendance stated that “legal



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and medical will likely take the position of total elimination” of C-8.

         46.   During the 1984 Meeting, the Defendant employees in attendance noted that

options to eliminate further use or emissions of C-8 at Defendant’s manufacturing facilities were

not “economically attractive,” and decided not only to keep using C-8 but to increase its use at the

Plant.

         47.   At that time, Defendant did not want to discontinue its use of C-8, despite its risks,

because such action would have jeopardized approximately $100-$200 million in annual business.

         48.   After the 1984 Meeting, Defendant continued to collected additional water samples

from public water sources in the area of the Plant at several points in time between 1984 and 1991,

and subsequently analyzed the C-8 content of those samples (hereinafter referred to as the

“Additional Water Samples”).

         49.   During each of such sampling events, the Additional Water Samples indicated to

Defendant the presence of C-8 in the water of at least one public water supply located near the

Plant, including the Lubeck Public Service District (hereinafter referred to as “LPSD”), whose

public water supply wells were, at the time, located adjacent to the Plant along the Ohio River, and

more importantly, downstream from the Plant’s ongoing releases of C-8 into that river.

         50.   As late as 1988, Defendant was aware that at least one toxicity study in laboratory

rats revealed a relationship between C-8 exposure and increased rates of certain types of cancer,

including testicular cancer.

         51.   Despite Defendant’s knowledge of C-8’s potential toxicity and carcinogenicity,

Defendant continued throughout the rest of the 1980s and into at least the early 2000s to increase

its use of C-8 at the Plant and to increase the amount of C-8 wastes it discharged from the Plant

directly into the air, the Ohio River, and unlined non-hazardous waste landfills in the vicinity of



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the Plant and local drinking water wells, all of which Defendant knew would result in the

continuing and increasing release of C-8 into the underlying water table and nearby surface waters.

       52.     Rather than disclose to the LPSD or any of its customers that elevated levels of C¬8

had been detected in the LPSD public water supply, Defendant arranged to purchase the LPSD

well-field property so it would become part of the Plant site. Further, in 1989 Defendant facilitated

LPSD’s relocation several miles further away from the Plant.

       53.     After relocating the LPSD, Defendant notified its employees to immediately cease

all further sampling of the former LPSD wells and to destroy all those samples previously-drawn

yet unanalyzed.

       54.     By April of 1990, Defendant’s own sampling data had confirmed that part per

million (hereinafter referred to as “ppm”) levels of C-8 were present in the water of the Dry Run

Stream into which leachate flowed from the Defendant-owned, and unlined, Dry Run Landfill in

Wood County, West Virginia, where Defendant had purposefully dumped more than 7,000 tons of

C-8-contaminated sludge originating from the Plant.

       55.     Despite Defendant’s knowledge of the potential toxicity of C-8, including the

confirmed carcinogenic nature of C-8 to animals, Defendant knowingly, intentionally and

purposefully withheld information about the high level of C-8 in the Dry Run Stream from the

family living next to the Dry Run Landfill who Defendant knew had hundreds of head of cattle

drinking from and wallowing in that stream.

       56.     In 1991, Defendant adopted an internal Community Exposure Guideline

(hereinafter referred to as “CEG”) for C-8 in community drinking water of 1 ppb.

       57.     Beginning later in 1991, water samples were analyzed by and/or on behalf of

Defendant at its own Experimental Station Laboratory from public water supplies in the vicinity



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of the Plant. These analyses indicated levels of C-8 well-above 1 ppb, with the highest levels (as

high as 3.9 ppb) being found in water from the new LPSD well field, now located several miles

further away from the Plant.

       58.     After finding levels of C-8 in public water supplies near the Plant that were more

than double or triple the CEG developed by Defendant as an internal community exposure safety

guideline, Defendant prepared information to disclose such facts to the residents drinking such

contaminated water. However, Defendant then purposefully and intentionally chose not to release

and/or otherwise disclose that information to anyone outside the company.

       59.     Rather than alert the community to the C-8 contaminated water, in November 1991

Defendant switched to an outside laboratory for the purpose of analyzing water samples for C-8

content in an attempt to generate data that would reflect lower C-8 sample results. Notably, that

laboratory claimed to be able to detect C-8 in water as low as 0.1 ppb (100 ppt) (the “New Water

Method”).

       60.     When Defendant switched to the New Water Method, that laboratory informed

Defendant that the New Water Method had surrogate recovery rates that resulted in C-8 results

that reported only approximately 60% of the C-8 actually present in the water. As such, the

reported C-8 sample results derived using the New Water Method would need to be corrected to

account for the low surrogate recovery rate and to prevent the misleading results from creating the

mistaken belief that the C-8 levels in the water were significantly lower than in reality.

       61.     Despite being warned that data generated by the new C-8 water analysis

methodology would suggest C-8 levels that were significantly lower than the level of C-8 likely

present in the water, and that such data must be clarified and/or corrected to avoid being

misleadingly inaccurate, Defendant negligently, recklessly, maliciously, knowingly, carelessly,



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wrongfully and/or intentionally failed to make such corrections and/or clarifications when it

eventually revealed such data to third parties, including public water suppliers, their customers

and/or governmental entities.

       62.     In August 2003, Defendant co-authored a report with USEPA and the West Virginia

Department of Environmental Protection (hereinafter referred to as “WVDEP”) confirming that

air emissions from the Plant were indeed a source of C-8 found in public water supplies near the

Plant, noting specifically that “[a]ir emissions of C-8 from the Washington Works Facility are

believed to be the source of C-8 detected in areas of West Virginia located adjacent to the facility

and the Local Landfill” and that “[a]ir emissions of C-8 from the [P]lant are believed to be the

source for C-8 along the Ohio River upstream of the [P]lant.”

       63.     Defendant’s own outside consultants also confirmed in published, peer-reviewed

literature that “particulate deposition from [the Plant] air emissions to soil and the subsequent

transfer of the chemical through the soil was determined to be the most likely source of [C-8] that

was detected in groundwater at locations off-site” from the Plant.

       64.     In 1993, a published peer-reviewed study of 3M workers exposed to C-8 at a 3M

manufacturing facility in Minnesota reported that “ten years of employment in exposed jobs was

associated with a 3.3 fold increase … in prostate cancer mortality compared to no employment in

[C-8] production. … If prostate cancer mortality is related to [C-8, C-8] may increase prostate

cancer mortality by altering reproductive hormones in male workers,” thus making clear to

Defendant by at least 1993 that C-8 was linked to increased cancer rates in C-8-exposed humans.

       65.     Throughout the rest of the 1990s, Defendant’s own corporate epidemiologists

internally tracked the number of cancer cases among Plant employees (while Defendant continued

to collect C-8 blood samples from such employees), repeatedly noting increased levels of various



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forms of cancer, including prostate and kidney cancer. However, despite possessing this

knowledge, Defendant intentionally and purposefully chose not to publish or otherwise disclose

any of those C-8 blood level or cancer results to anyone outside the company.

       66.     In 1998, members of a family whose cattle were drinking C-8-contaminated water,

unbeknownst to their owners, from the Dry Run Creek sued Defendant in a lawsuit brought in

West Virginia federal court, before Judge Joseph R. Goodwin, styled Tennant, et al., v. E.I. du

Pont de Nemours & Co., Inc., Civil Action No. 6:99-0488 (S.D. W. Va.) (hereinafter referred to

as the “Tennant Case”), after Defendant refused to provide any explanation or remedy for the

deaths of hundreds of head of the family’s cattle and the Tennant family’s own developing health

problems after exposure to materials in the Dry Run Creek and Landfill.

       67.     In 1999, after the Tennant family began pushing Defendant to disclose more

detailed information about the identity of the chemicals and materials dumped into the Dry Run

Landfill that might be causing the problems with their cattle and the family’s health, Defendant

received data from a laboratory study funded, in part, by Defendant and 3M to assess effects of C-

8 exposure on primates confirming that two of twenty-two monkeys had died, including one

monkey who had received the lowest dose of C-8 in the study.

       68.     Based on the recent monkey study results, Defendant became increasingly

concerned about any revelation of C-8 contamination in the community through discovery in the

Tennant Case, and orchestrated a plan to persuade the Tennant family that all of the problems

alleged by the Tennants were all the family’s own doing, setting up a team of scientists from both

Defendant and USEPA, known as the “Cattle Team,” whose purpose would be to review all of the

relevant data and “scientifically” determine whether the problems with the health of the cattle were

associated with anything at the Dry Run Landfill.



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        69.    Although Defendant knew, but had not disclosed, at the time that massive amounts

of C-8 were present in the Dry Run Landfill and the Dry Run Stream, which the Tennants’ cattle

were consuming, at levels more than 100 times Defendant’s own 1 ppb safety guideline for human

consumption, and had appointed to the Cattle Team at least one long-time Defendant scientist and

veterinarian who was well aware of C-8 and its potential toxicities, Defendant never disclosed or

mentioned to any of the USEPA members of the Cattle Team that C-8 might be a contaminant of

interest.

        70.    Thereby, Defendant purposefully and intentionally allowed and encouraged the

Cattle Team to perform its “scientific” investigation without ever considering C-8 and without

taking any samples, or collecting and preserving any data regarding the potential impact of C-8 on

the cattle. Defendant’s acts and/or omissions then resulted in the generation of a final Cattle Team

report in December of 1999 that did not identify any chemical-related problems and essentially

blamed all of the problems on the Tennant family’s own herd management practices.

        71.    By at least May 2000, Defendant learned that 3M had decided to stop

manufacturing and selling C-8 based upon concerns associated with the bio-persistence and

toxicity of C-8.

        72.    Despite knowledge of the same, and the confirmed fact that C-8 was in public and

private drinking water supplies in the vicinity of the Plant, Defendant’s top corporate management

met in 2000 and made the purposeful, intentional, willful, reckless, wanton and knowing decision

not to stop using C-8 or releasing C-8 into the environment. Furthermore, that same corporate

management team later authorized, approved and commenced direct manufacture of its own C-8

at a Defendant-owned plant in North Carolina.

        73.    By at least June 9, 2000, Defendant was aware that C-8 had been designated by the



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American Council of Governmental and Industrial Hygienists (hereinafter referred to as

“ACGIH”) as an A3 “confirmed animal carcinogen.”

       74.     In the late summer of 2000, as the Tennant Case was progressing toward trial, a

single document was discovered in the massive amount of documents produced by Defendant in

discovery that referenced the presence of something called “C8” in the Dry Run Landfill.

       75.     Because Defendant had previously restricted the information it provided in

discovery during the Tennant Case to materials that were regulated or listed wastes under federal

or state laws and regulations, and as C-8 was not so regulated or listed at the time, Defendant was

asked to immediately produce all documents relating to C-8, which request Defendant aggressively

opposed.

       76.     After the federal court in the Tennant Case finally ordered Defendant to produce

all of its C-8 documents, plaintiffs began to uncover much of the information detailed above.

Specifically, plaintiffs discovered that Defendant knew and had failed to disclose that not only had

C-8 been present in the Dry Run Landfill and Dry Run Creek for years, but numerous internal

documents indicated that C-8 also had been (and presumably still was) present in area drinking

water supplies, and that internal health and safety studies suggested risks to human health from C-

8 exposure.

       77.     By the fall of 2000, Defendant understood that the Tennants were now aware of the

C-8 contamination at the Dry Run Landfill, in the Dry Run Creek, and in area public water

supplies, and that Defendant had been withholding and concealing that information.

       78.     In November 2000, one of Defendant’s in-house counsel responsible for C-8 issues

wrote the following to his co-counsel: “I think we need to make more of an effort to get the business

to look into what we can do to get the [impacted West Virginia] community a clean source of water



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to filter the C-8 out of the water. … We are going to spend millions to defend these lawsuits and

have the additional threat of punitive damages hanging over our head. Getting out in front and

acting responsibly can undercut and reduce the potential for punitives. … Our story is not a good

one, we continued to increase our emissions into the river in spite of internal commitments to

reduce or eliminate the release of this chemical into the community and the environment because

of our concern about the biopersistence of this chemical.”

       79.     One of Defendant’s other in-house counsel responsible for C-8 issues (and

Defendant’s defense of the Tennant Case) also wrote: “The sh[..] is about to hit the fan in WV, the

lawyer for the farmer finally realizes the surfactant [C-8] issue …. F[..]k him. Finally the plant

realizes it must get public first, something I have been urging for over a year.”

       80.     Soon thereafter, Defendant authorized its attorneys to seek a gag order from Judge

Goodwin in the Tennant Case to try to stop one of the Tennants’ attorneys involved with

uncovering the C-8 drinking water contamination, specifically Robert Bilott with Taft, Stettinius

& Hollister, LLP, in Cincinnati, Ohio, from publicly disclosing or addressing the issue with any

federal and state environmental protection agencies. Judge Goodwin denied Defendant’s request,

allowing the information to belatedly become public.

       81.     In response to the federal court’s refusal to issue the requested gag order,

Defendant’s in-house counsel for C-8 issues wrote: “Court yesterday did not agree to shut up

plaintiff lawyer in our Parkersburg situation and today he testifies [sic] an EPA hearing. … I told

the clients to settle many moons ago. Too bad they still are in denial and don’t think things can get

worse, wrong again.”

       82.     On April 8, 2001, Defendant’s in-house on C-8 issues described Defendant’s C-8

as a material that “we poop to the river and into drinking water along the Ohio River.”



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       83.     On June 14, 2001, Defendant’s in-house counsel on C-8 issues wrote that “the

environmental agencies very concerned about what to say when asked if the stuff we are putting

into drinking water is ‘safe.’ We say it is, but are viewed as an interested party (rightly).”

       84.     On September 1, 2001, soon after the Tennant Case had settled and a new class

action lawsuit had been filed in West Virginia state court against Defendant arising from C-8

contamination of drinking water supplies near the Plant, styled Leach, et al. v E.I. du Pont de

Nemours and Co., Civil Action No. 01-C-608 (Wood Cty. W. Va. Cir. Ct.) (hereinafter referred to

as the “Leach Case”), Defendant’s in-house counsel on C-8 issues wrote: “I can’t blame people if

they don’t want to drink our chemicals. The compound … is very persistent in the environment,

and on top of that, loves to travel in water and if ingested or breathed wants to stay in the blood,

the body thinks it is food, so pulls it from the intestine, the liver then dumps it back to the stomach

because it can’t break it down, then the intestines puts it right back into the blood.”

       85.     On October 12, 2001, Defendant’s in-house counsel on C-8 issues wrote in

connection with C-8 drinking water contamination: “A debacle at best, the business did not want

to deal with this issue in the 1990s, and now it is in their face, and some still are clueless. Very

poor leadership, the worst I have seen in the face of a serious issue since I have been with

Defendant.”

       86.     On October 13, 2001, Defendant’s in-house counsel on C-8 issues wrote with

respect to C-8 contamination near the Plant: “[W]e are exceeding the levels we set as our own

guideline, mostly because no one bothered to do the air modeling until now, and our water test has

[been] completely inadequate. …I have been telling the business to get out all the bad news, it is

nice to see that we are now consulting with lawyers … that … are advising the same strategy. Too

bad the business wants to hunker down as though everything will not come out in the litigation,



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god knows how they could be so clueless, don’t they read the paper or go to the movies?”

        87.     On October 20, 2001, after analysis of certain water samples from the LPSD

indicated C-8 levels less than 1 ppb, Defendant’s in-house counsel on C-8 issues wrote: “Now if

the clients will only listen to us on doing free testing and giving away bottled water we might avoid

punitive damages.”

        88.     On January 12, 2002, after test results indicated levels of C-8 as high as 7 ppb in

water from the LHWA in Ohio, Defendant’s in-house counsel on C-8 issues wrote that “in addition

to all the agencies we have had on our butts, we now have Ohio and another EPA Region, not to

mention the 20,000 people who drink the water supplied by Little Hocking with our surfactant in

it, likely it has been there for at least the last decade.”

        89.     On February 9, 2002, Defendant’s in-house counsel on C-8 issues wrote with

respect to C-8 contamination: “We should have checked this out long ago, but now our only choice

is to share whatever we learn and trying to fix things, best current theory is air deposition from our

stacks.”

        90.     Between late 2001 and 2003, Defendant orchestrated, coordinated, and participated

in creative, misleading efforts designed and intended by Defendant to generate a new federal-

and/or state-“approved” “screening level” for C-8 in drinking water supplies through creation of a

“C-8 Assessment of Toxicity Team” (a/k/a “CAT Team”). That “screening level” would be

significantly higher than Defendant’s own 1 ppb CEG and would be held out by Defendant to the

public, including Plaintiff, as proving the lack of any health risk or safety concerns with respect to

the level of C-8 in drinking water supplies near the Plant.

        91.     After the CAT Team announced in the Spring of 2002 a new “screening level” for

C-8 in drinking water of 150 ppb – 150 times higher than the 1 ppb CEG Defendant still uses to



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this day – Defendant actively and repeatedly cited that screening level in communications intended

for dissemination to the public, including Plaintiff, and indicated that such screening level proved

that the levels of C-8 in drinking water near the Plant were all perfectly “safe” and posed no risk

of harm or injury to anyone.

       92.     In March of 2002, the Director of Defendant’s Haskell Laboratory for Health &

Environmental Sciences falsely and misleadingly represented to a Charleston, West Virginia

newspaper in a letter intended for dissemination to the public, including Plaintiff, that there is “an

extensive database on C-8 …that indicate no known adverse human health impact associated with

current or historic use of C-8,” “there are no known adverse health effects associated with C-8 in

humans or the environment,” that “[a]ll of this information has been provided to both state and

federal regulators,” and that “the importance of communicating accurate information in its proper

context – especially in areas as complex as human and environmental health – should be of the

highest priority in serving the public interest.”

       93.     In May of 2002, the Plant’s Plant Manager falsely and misleadingly represented in

a press release intended for dissemination to the public, including Plaintiff, that “the presence of

C-8 at the low levels detected to-date in drinking water in the Mid-Ohio Valley is not harmful.”

       94.     During the Leach Case class action litigation against Defendant involving the

contaminated drinking water supplies near the Plant, the West Virginia state court overseeing that

litigation found that documents relating to how the screening level had been developed and

Defendant’s involvement with those activities had been wrongfully withheld and destroyed.

       95.     The Leach Case court also found that Defendant’s lead C-8 toxicologist and

representative on the CAT Team had inappropriately and wrongfully destroyed C-8 documents,

and that Defendant should be sanctioned for its discovery abuses and attempts to delay and



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withhold production of C-8 documents in that case.

       96.       Beginning by at least 2003, Defendant paid various consultants, including The

Weinberg Group, many thousands of dollars to implement a comprehensive strategy purposefully

designed to attack and discredit those who alleged adverse health effects from C-8, to prevent third

parties from “connecting the dots” between Defendant and C-8 problems, to coordinate media and

third-party communications, and to thwart any C-8-related litigation. Defendant later modified that

strategy into its “Clean Hardball” plan, which later became the subject of a Congressional

investigation.

       97.       In February of 2003, the Plant’s Plant Manager falsely and misleadingly

represented in various statements provided to various media representatives, including a

Columbus, Ohio, newspaper, which were intended for public dissemination, including to Plaintiff,

that, “[i]n more than 50 years of C-8 use by Defendant and others, there have been no known

adverse human health effects associated with the chemical,” that “all” of the available scientific

research “has been provided to both state and federal regulators,” that “epidemiological studies of

workers do not indicate an increased risk of cancer associated with exposure to C8,” that

“Defendant has made significant efforts to respond to the public honestly and openly with correct

information about C8, and that “the use of C8 at the Washington Works site has not posed a risk

to either human health or the environment.”

       98.       During a “media update” provided by Defendant in March 2003, various

representatives of Defendant, including the Plant Manager and the Director of Defendant’s Haskell

Laboratory for Health and Environmental Sciences, falsely and misleading represented through

documents and statements intended for dissemination to the public, including Plaintiff, that “there

are no health effects associated with C-8 exposure,” that “C-8 is not a human health issue,” that



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“in more than 50 years of C8 use by Defendant and others, there have been no known adverse

human health effects associated with C8,” and that Defendant “know[s] for a fact that there have

been no observed adverse health effects among 3M and DuPont employees who have worked with

C8.”

       99.     Later in March 2003, Defendant’s Vice President and General Manager for DuPont

Fluoroproducts, falsely and misleading represented in a press release intended for dissemination

to the public, including Plaintiff, that C-8 “has been wrongfully represented as a health risk when,

in fact, it has been used safely for more than 50 years with no known adverse effects to human

health,” that “[t]here is no evidence or data that demonstrates [C-8] causes adverse human health

effects,” that “the compound is safe for all segments of the population, including women of child-

bearing age and young girls,” and that “[t]here is extensive scientific data, including worker

surveillance data, peer-reviewed toxicology and epidemiology studies, and expert panel reports

that support this position.”

       100.    In April of 2003, the Director of Defendant’s Haskell Laboratory for Health and

Environmental Sciences falsely and misleading represented in a press release intended for

dissemination to the public, including Plaintiff, that “[t]here is no evidence or data that

demonstrates [C-8] causes adverse human health effects, including developmental or reproductive

effects, in any segment of the human population.”

       101.    In April of 2003, Defendant’s Vice President and General Manager for DuPont

Fluoroproducts falsely and misleadingly represented in a press release intended for public

dissemination, including to Plaintiff, that “our use of [C-8] over the past 50 years has not posed a

risk to either human health or the environment.”

       102.    In April of 2003, Defendant’s spokesperson for the Plant falsely and misleadingly



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represented in a written statement provided to media outlets, including West Virginia public radio,

which statement was intended for dissemination to the public, including Plaintiff, that Defendant’s

“use of [C-8] over the past 50 years has not posed a risk to either human health or the environment”

and that “[t]here is no evidence to support a finding that the public or the [Leach Case] class has

been subjected to adverse health risks from exposure to [C-8] at the levels observed.”

          103.   In April 2003, Defendant’s CEO falsely and misleadingly represented during a

Defendant annual shareholder meeting through statements intended for dissemination to the

public, including Plaintiff, that Defendant has “not seen any negative impacts on human health or

impact to the environment at the exposure levels that we operate” with respect to Defendant’s use

of C-8.

          104.   In May 2003, Defendant falsely and misleadingly represented in a press release

issued by Defendant and intended for dissemination to the public, including Plaintiff, that “there

is no scientific evidence to support [the Leach Court’s] conclusions that the plaintiffs’ claims are

warranted. In fact, the scientific data overwhelmingly establishes that C-8 is not a human health

hazard,” that “[n]othing in Defendant’s 50 years of experience with C-8 indicates it is a hazard and

nothing in the toxicity testing for C-8 suggests the class members are at any risk whatsoever,” and

that Class Counsel for the plaintiffs in the Leach Case were creating “unjustifiable health concerns”

that are “a disservice to the people of the Mid-Ohio Valley” by suggesting that there are potential

health risks from their C-8 exposure.

          105.   In written information posted by Defendant in late 2003 on a website created for

the Plant under the heading “Quick C-8 Facts,” which was intended by Defendant for

dissemination to the public, including Plaintiff, Defendant falsely and misleadingly represented

that “available epidemiologic studies of workers do not show an increased risk of cancer associated



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with exposure to C-8.”

        106.   In May of 2004, Defendant’s lead in-house toxicologist for C-8 falsely and

misleadingly represented in a press release intended for dissemination to the public, including

Plaintiff, that C-8 “is not a human carcinogen and there are no known health effects associated

with” C-8 and that recent reports of a new study suggesting an increased rate of cancer among

Leach Case class members “are inaccurate and inconsistent with published scientific studies,” and

represent “an example of unscientific reporting and alarmist media coverage that does a disservice

to our employees and the community in which they live.”

        107.   Later in 2004, EPA filed a complaint against Defendant noting violations of the

federal Resource Conservation and Recovery Act (hereinafter referred to as “RCRA”) and Toxic

Substances Control Act (hereinafter referred to as “TSCA”) requirements and statutory duties with

respect to Defendant’s failure to disclose C-8 toxicity and exposure information to USEPA that it

should have disclosed beginning in at least the early 1980s (hereinafter referred to as the “EPA

Action”), adding additional counts through a later complaint relating to Defendant’s failure to

disclose data earlier produced to Defendant by the Tennants’ attorneys indicating that the presence

of C-8 in local drinking water supplies resulted in elevated levels of C-8 in the blood of those

drinking such water.

        108.   In July of 2004, Defendant falsely and misleadingly represented in a press release

intended for dissemination to the public, including Plaintiff, that C-8 “is not hazardous to human

health” and that media reports to the contrary were a “misinterpretation and misunderstanding” of

the facts.

        109.   In August of 2004, Defendant’s General Counsel falsely and misleadingly

represented in a press release created and intended for dissemination to the public, including



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Plaintiff, that the CAT Team’s 150 ppb screening level was “EPA’s safety guidance for drinking

water.” Furthermore, in talking points made available to the public, including Plaintiff, linked

directly through that same press release attributed to Defendant’s General Counsel, Defendant

made the false and misleading representations that “[t]here is no scientific evidence that low levels

of exposure to [C-8] cause adverse human health effects in any segment of the population” and

that there are “no known adverse health effects or environmental effects” from C-8 exposure.

       110.    Defendant eventually settled the EPA Action by agreeing to pay over $16 million

in civil administrative penalties and supplemental environmental projects, which USEPA

characterized as the “largest civil administrative penalty EPA has ever obtained under any federal

environmental statute.”

       111.    In January 2005, Defendant falsely and misleadingly represented though a press

release intended for dissemination to the public, including Plaintiff, that its own study of Plant

workers had confirmed that there are “[t]o date, no human health effects known to be caused by”

C-8, even though the same study showed that Plant workers with higher levels of C-8 exposure

had higher levels of cholesterol.

       112.    On January 11, 2005, Defendant publicly disclosed that the U.S. Department of

Justice’s Environmental Crimes Section had served it with a subpoena seeking information on C¬

       113.    In July of 2005, Defendant falsely and misleadingly represented in a Media

Advisory intended for dissemination to the public, including Plaintiff, that C-8 “exposure does not

pose a cancer risk or any health risk to the general public.”

       114.    In January 2006, Defendant became aware that USEPA’s Science Advisory Board

had approved the recommendation of its independent PFOA Review Panel that C-8 be classified

as a “likely” human carcinogen.



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       115.    In January 2006, the Director of Defendant’s Haskell Laboratory for Health &

Environmental Sciences falsely and misleadingly represented in a press release intended for

dissemination to the public, including Plaintiff, that “in 50 years of working with [C-8], there is

no association of cancer in workers who handle or use” C-8.

       116.    In February 2006, Defendant’s own Epidemiology Review Board (hereinafter

referred to as “ERB”) cautioned Defendant to stop its repeated and intentional practice of stating

to the public through press releases, website postings and other forms of communication directed

to the public that there are no adverse health effects associated with human exposure to C-8, noting

that recent scientific developments provide sufficient data to “question the evidential basis of

Defendant’s public expression asserting that [C-8] does not pose a risk to health.”

       117.    In October of 2006, in direct opposition and defiance of the ERB’s advice,

Defendant’s Medical Director falsely and misleadingly represented in a press release intended for

dissemination to the public, including Plaintiff, upon release of Defendant’s internal study of death

rates among its Plant workers due to various causes, including cancer, that “there are no human

health effects known to be caused by [C-8].”

       118.     In March of 2009, again in direct opposition and defiance of the ERB’s advice,

Defendant reviewed and approved issuance of a press release by one of its consultants, the

Sapphire Group, that Defendant intended to be distributed in a way that Plaintiff and the public

would see it and be subsequently misled by it, which boldly proclaims that the C-8 in Plaintiff’s

water is perfectly “safe.”

       119.    In light of all the facts detailed above, the following is known about the chemical

behavior and properties of C-8.

               (a)     C-8 is a bioretentive substance in the sense that it is retained in the blood
               and/or tissues of living organisms, including humans, exposed to the chemical over

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               time.

               (b)     C-8 is a bioaccumulative substance in the sense that the levels of the
               chemical will build up and/or accumulate to higher levels in the blood and/or tissues
               of living organisms, including humans, exposed to the chemical over time.

               (c)     C-8 is a biopersistent substance in the sense that the chemical will tend to
               remain present over time in environmental media where it is released and/or comes
               to be located.

               (d)    C-8 is a hazardous substance, hazardous waste, solid waste, toxin,
               carcinogen, pollutant and/or contaminant.

               (e) C-8 poses a risk to human health at a concentration of less than 1 ppb in water.

       120.    Despite Defendant’s knowledge of all the facts and details listed above:

               (a)    Defendant continued to emit C-8 into the air from the Plant and into the
               surrounding environment.

               (b)    Defendant continued to release C-8 into the Ohio River and groundwater
               from the Plant.

               (c)    Defendant has not entered into any enforceable agreement that requires it to
               discontinue the use, release and/or emission of all C-8 at and/or from the Plant at
               any time in the future.

       121.    Defendant did not seek permission from Plaintiff to put or allow any amount of

C¬8 in Plaintiff’s drinking water.

       122.    Plaintiff did not give Defendant permission to put or allow any amount of C-8 in

Plaintiff’s drinking water.

       123.    Defendant did not seek permission from Plaintiff to put or allow any amount of

C¬8 in Plaintiff’s blood, serum and/or body.

       124.    Plaintiff did not give Defendant permission to put or allow any amount of C-8 in

Plaintiff’s blood, serum and/or body.

       125.    Plaintiff and/or a normal, reasonable person living in Plaintiff’s community, is

reasonably concerned about and fearful of the C-8 in their groundwater, drinking water and/or

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blood and/or bodies, and reasonably finds such contamination offensive, unreasonable, annoying

and/or intolerable.

       126.    At all times relevant hereto, Defendant negligently, willfully, wantonly, recklessly,

carelessly, wrongfully and/or intentionally failed to disclose to the individuals using the public

and/or private water from the West Virginia and Ohio water supplies where Defendant’s sampling

activities had revealed C-8 levels, that C-8 was in such water and that the levels of C-8 detected in

that water exceeded Defendant’s own internal CEG.

       127.    At all times relevant hereto, Defendant was aware that its methods for analyzing

human drinking water samples for C-8 often had poor surrogate recovery rates and/or other

deficiencies, such as absorption to glass, that indicated to Defendant that the actual levels of C-8

in the analyzed water were likely higher than the levels of C-8 reported by such methods. However,

despite that knowledge Defendant negligently, recklessly, carelessly, wrongfully and/or

intentionally misrepresented, failed to disclose, and/or purposefully withheld and/or concealed

such information from those individuals likely to consume the water.

       128.    At all times relevant hereto, Defendant negligently, willfully, wantonly, recklessly,

carelessly, wrongfully and/or intentionally selected particular analytical methods, sampling

techniques, and/or data reporting strategies so as to generate false, incomplete and/or misleading

C-8 water sampling data results that were artificially low and/or otherwise not accurately

representative of the true nature of C-8 levels in the environmental media being analyzed.

       129.    Once it knew that C-8 was present in human drinking water supplies near its

Washington Works Plant, including levels above its own 1 ppb CEG, Defendant prepared media

statements and press releases to disclose and address the C-8 contamination. However, with the

knowledge and approval of top corporate management, Defendant then negligently, recklessly,



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carelessly, wrongfully and/or intentionally withheld that information from the individuals

consuming the C-8 contaminated drinking water for, among other reasons, a corporate desire not

to negatively impact its corporate profits and/or other economic interests.

        130.    By at least the 1980s, Defendant was aware of various technologies that could

reduce the amount of C-8 emitted into the air or into water from the Plant, such as scrubbers for

plant stacks and carbon absorption water treatment systems. However, despite that knowledge,

Defendant negligently, recklessly, carelessly, wrongfully and/or intentionally refused to fully

install and/or implement such available technologies for decades for, among other reasons, a

corporate desire not to negatively impact its corporate profits and/or other economic interests.

        131.    Defendant actively took steps to purposely and/or intentionally conceal from the

public the detection of C-8 in the human drinking water supplies at levels exceeding Defendant’s

1 ppb CEG, including purposeful and/or intentional omissions of any reference to such test results

when specifically asked about C-8 levels by members of the media or government. Defendant also

omitted any such references in a letter co-drafted by Defendant and LPSD, which LPSD then sent

to its water customers, dated October 31, 2000.

        132.    At all times relevant hereto, Defendant has encouraged the publication and public

dissemination by Defendant-employed and/or -funded scientists, employees, agents and/or

consultants of toxicity and health data purposefully, intentionally, willfully, wantonly, recklessly

and/or negligently designed to inaccurately, artificially and/or misleadingly minimize potential

and/or actual negative C-8 human health effects and/or risks, and to discredit and/or otherwise

negatively affect those who suggest or state that such potential and/or actual negative C-8 human

health effects and/or risks do in fact exist.

        133.    At all times relevant hereto, Defendant management repeatedly and consistently



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rejected the recommendations of its own scientists and outside advisors, including its own

in¬house epidemiologists, to pursue appropriate investigations of C-8 health effects, failed to

maintain appropriate records of those health effects and claims, and refused to allow results

showing adverse effects to be documented, published or accurately and properly disclosed.

       134.    At no time since C-8 was first detected in Plaintiff’s drinking water has Defendant

disclosed to or advised the public, including Plaintiff, that C-8 was or is present in such water at

any level presenting a risk of harm or injury.

       135.    Since the time that C-8 was first detected in Plaintiff’s drinking water, Defendant

has knowingly, willfully, wantonly, recklessly, intentionally and consistently misrepresented

and/or assisted, coordinated or otherwise encouraged others to misrepresent to the public,

including Plaintiff, that the C-8 present in such water will not cause any harm or injury, or present

any meaningfully increased risk of such harm or injury, and has consistently falsely denied that

such C-8 water contamination could give rise to any existing or potential personal injury of any

kind for anyone drinking any amount of such water.

       136.    For several decades, Defendant has known that the discharge of C-8 into the Ohio

River from the Plant contributes to the levels of C-8 present in human water supplies. In addition,

Defendant knew that the harmful discharge of C-8 could be reduced substantially by use of a

carbon absorption treatment system at the Plant.

       137.    In Spring of 2001, the West Virginia Division for Environmental Protection

(hereinafter referred to as “WVDEP”) demanded that Defendant begin monitoring and reporting

to WVDEP the levels of C-8 discharged from the Plant into the Ohio River. It was not until after

that time that Defendant installed a carbon absorption treatment system at the Plant in order to

begin reducing the levels of C-8 discharged directly from the Plant into the Ohio River.



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       138.    In 2004, Defendant entered into a Class Action Settlement Agreement in the Leach

Case, which was subsequently approved by the Court in 2005 following appropriate notice and a

fairness hearing (hereinafter referred to as the “Leach Settlement”).

       139.    Prior to being required to do so under the terms of the Leach Settlement, Defendant

did not at any relevant time offer or provide for, and actively opposed and rebuffed, any treatment

or abatement of C-8 levels in any private or public human drinking water supply in Ohio or West

Virginia.

       140.    Under the Leach Settlement, certain individual personal injury, wrongful death and

punitive damages claims of the Leach Class Members relating to the contamination of their

drinking water with C-8 attributable to the Plant (hereinafter referred to as the “Individual Injury

Claims”) were stayed and preserved (and all potentially applicable statutes of limitations would

continue to be tolled), pending a determination by a new “C-8 Science Panel” jointly selected by

Defendant and Plaintiffs’ Class Counsel, and funded by Defendant. The C-8 Science Panel was

charged with determining whether there is any “Probable Link” between C-8 exposure of the Class

Members and any Human Disease(s), as such terms are defined in the Leach Settlement.

       141.    The C-8 Science Panel ultimately determined that a “Probable Link” exists between

C-8 exposure among Leach Class Members and the following human diseases: 1) kidney cancer;

2) testicular cancer; 3) ulcerative colitis; 4) thyroid disease; 5) pregnancy-induced

hypertension/preeclampsia; and 6) medically-diagnosed high cholesterol (hereinafter referred to

as the “Linked Diseases”). The results and the Linked Diseases are documented by the C-8 Science

Panel in a series of reports, the last of which was released in October of 2012.

       142.    In December 2011, after the C-8 Science Panel released its “Probable Link Finding”

for pregnancy-induced hypertension/preeclampsia, Defendant’s Plant Manager represented in a



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statement released to the media, including the Parkersburg News & Sentinel, which Defendant

intended be disseminated to the public, including Plaintiff, that Defendant “does not believe that

[C-8] causes pregnancy-induced hypertension.”

       143.    Because the C-8 Science Panel was not required to release to Defendant and the

Leach Case class members its underlying data package until late in January of 2013, Defendant

has agreed that the running of any statute of limitations applicable to Leach Class Members’

Individual Injury Claims not otherwise released or dismissed under that Settlement will continue

to be deemed tolled from August 30, 2001, through January 28, 2013.

       144.    Under the Leach Settlement, Defendant agreed for the purposes of any Individual

Injury Claims of Leach Class Members that Defendant will not contest the issue of general

causation (meaning whether it is probable that exposure to C-8 is capable of causing a particular

human disease) between C-8 and any Linked Diseases.

       145.    Leach Class Members are defined under the Leach Settlement to include certain

individuals who consumed for at least one year prior to December 3, 2004, C-8 contaminated

drinking water from one or more drinking water sources specified in that Settlement and who did

not opt-out or otherwise waive their rights under that Settlement.

       146.    Plaintiff is a Leach Class Member and suffers from one or more of the Linked

Diseases, including being diagnosed with kidney cancer in or about May of 2020.

       147.    The Releases have made and/or continue to make Plaintiff physically ill and

otherwise physically harmed, and/or have caused and continue to cause associated emotional and

mental stress, anxiety, and fear of current and future illnesses, including but not limited to, fear of

significantly increased risk of cancer and other disease.




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               FIRST CAUSE OF ACTION AS AGAINST THE DEFENDANT
                                 NEGLIGENCE

        148.    Plaintiff repeats, reiterate and reallege each and every allegation of this Complaint

contained in each of the foregoing paragraphs inclusive, with the same force and effect as if more

fully set forth herein.

        149.    Defendant had a general duty to exercise reasonable care in their ownership,

maintenance, management, operation and/or control of the Plant, including a duty to assure that

the Plant would not create a nuisance or condition causing any harm, injury or damage to innocent

people or the environment.

        150.    In addition to its general duty of care, by affirmatively representing that the

Releases and Defendant’s above detailed acts and/or omissions did not and/or were not causing

any physical harm or other damage to Plaintiff, other exposed individuals, and the general public,

and that the contaminated drinking water was safe to consume, Defendant also voluntarily assumed

a duty to Plaintiff, other exposed individuals and the general public.

        151.    Further, Defendant owed a duty of care towards Plaintiff, other exposed

individuals, and the general public commensurate with the inherently dangerous and harmful

nature of the substance C-8 and the dangers resulting from exposure to C-8.

        152.    Defendant failed to exercise ordinary care in the operation and/or management of

the Plant and/or the conduction of operations and activities at the Plant in such a manner as to

negligently cause, permit and/or allow the Releases, thereby contaminating the drinking water and

blood/body of Plaintiff, and also by knowingly making false representations to and/or knowingly

concealing material information from Plaintiff, other exposed individuals, and the general public

regarding the Releases, the contaminated drinking water, and Plaintiff’s harmful exposure to C-8.

        153.    Despite knowing the harmful effects of C-8 exposure and the Releases, and

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knowing that the drinking water contaminated with C-8 was unsafe to consume, Defendant, its

agents, servants, and/or employees, committed negligent acts and/or omissions including but not

limited to the following acts and/or omissions:

               (a)     Failing to properly minimize, abate and/or treat the Releases

               (b)    Failing to properly notify the public or government officials of the ongoing
               Releases

               (c)     Failing to correct, clarify, rescind and/or qualify its representations to
               Plaintiff, other exposed individuals, and the general public that the Releases and
               Defendant’s acts and/or omissions were not causing any physical harm and/or
               damage to them.

               (d)     Failing to correct, clarify, rescind and/or qualify its representations to
               Plaintiff, other exposed individuals, and the general public that the contaminated
               drinking water was safe to consume.

       154.    Defendant thereby under-reported, underestimated and downplayed the serious

dangers of exposure to C-8.

       155.    Defendant, being conscious of the Releases, the probable injuries resulting from

exposure to C-8, and its negligent acts and/or omissions, consciously, recklessly and intentionally

failed to exercise ordinary care and thereby breached its duty to Plaintiff, other exposed

individuals, and the general public.

       156.    Defendant knew or should have known that Plaintiff, other exposed individuals,

and the general public would foreseeably suffer injury as a result of Defendant’s failure to exercise

ordinary care, as set forth above.

       157.    But for Defendant’s negligent acts and/or omissions, Plaintiff would not have

consumed and/or been exposed to unhealthy levels of C-8, and/or would not have continued to

consume the contaminated drinking water.

       158.    Defendant’s negligence was the direct and proximate cause of Plaintiff’s injuries,



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harm and economic loss which Plaintiff suffered and/or will continue to suffer.

        159.    As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

was caused to suffer serious and dangerous injuries, including kidney cancer, as well as other

severe and personal injuries which are permanent and lasting in nature, physical pain and mental

anguish, including diminished enjoyment of life, as well as the need for lifelong medical treatment

and/or medications.

        160.    As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

requires and/or will require more health care and services and did incur medical, health, incidental

and related expenses. Plaintiff is informed and believes and further alleges that Plaintiff will in the

future be required to obtain further medical and/or hospital care, attention, and services.

               SECOND CAUSE OF ACTION AS AGAINST THE DEFENDANT
                 CONCEALMENT, MISREPRESENTATION AND FRAUD

        161.    Plaintiff repeats, reiterate and reallege each and every allegation of this Complaint

contained in each of the foregoing paragraphs inclusive, with the same force and effect as if more

fully set forth herein.

        162.    Defendant negligently, knowingly, intentionally, maliciously, willfully, wantonly,

and/or recklessly failed and/or refused to advise Plaintiff, other exposed individuals, and the public

at large of the dangers and/or risks to their health posed by the Releases.

        163.    Defendant negligently, knowingly, intentionally, maliciously, willfully, wantonly,

and/or recklessly withheld, misrepresented and/or concealed information regarding the Releases

from Plaintiff, other exposed individuals, and the general public who were entitled to such

information that, had it been known, would have prevented them from exposure to the Releases.

        164.    Defendant knew or reasonably should have known that the Releases and C-8 had a

causal connection with and/or increased the risk of causing harm to exposed individuals, both

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human and animal, based on such knowledge as statistically significant findings indicating that

exposure to C-8 can cause such damage.

       165.     Defendant had a general duty to exercise reasonable care in its ownership,

maintenance, management, operation and/or control of the Plant, including a duty to disclose to

Plaintiff, other exposed individuals, and the general public actual and potential harm to them

resulting from Defendant’s acts and/or omissions. This general duty of care included a duty to

disclose to Plaintiff, other exposed individuals and the general public that the Releases had and

continued to expose them to dangerous and harmful levels of C-8.

       166.     Defendant also voluntarily assumed a duty to disclose to Plaintiff, other exposed

individuals, and the general public actual and potential harm to them resulting directly and

proximally from Defendant’s acts and/or omissions when Defendant affirmatively represented to

them that the Releases and C-8 exposure was harmless, despite the fact that Defendant knew or

reasonably should have known that the Releases and C-8 exposure have a causal connection to

serious bodily injury. This duty included a duty to disclose to Plaintiff, other exposed individuals

and the general public that Defendant’s Releases had exposed, and were continuing to expose,

them to dangerous and harmful levels of C-8.

       167.     Defendant created a relationship of trust and confidence between itself and

Plaintiff, other exposed individuals and the general public through its voluntary acts and/or

representations, and its possession of superior knowledge of, responsibility for and/or control over

the Releases.

       168.     Despite Defendant’s knowledge regarding the Releases and C-8 exposure,

Defendant breached its duty to disclose information to Plaintiff, other exposed individuals and the

general public by negligently, knowingly, intentionally, maliciously, willfully, wantonly, and/or



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recklessly withholding, misrepresenting and/or concealing information from them regarding the

Releases and C-8 exposure, and did so with the intention to mislead and/or defraud them into

continued purchase and consumption of drinking water contaminated with C-8.

       169.    Plaintiff justifiably relied upon Defendant’s superior knowledge in deciding to

purchase and consume the drinking water contaminated with C-8 as Plaintiff did not and could not

possess sufficient information to determine the safety of that contaminated drinking water.

Therefore, Plaintiff was misled into the belief that the contaminated drinking water was in fact

safe to consume by Defendant’s false and misleading affirmative misrepresentations and

intentional omissions and/or concealment of relevant, significant and material facts and

information, and thereby continued to purchase and consume that contaminated drinking water,

which directly and proximately caused harm to Plaintiff as described above.

       170.    As earlier indicated, Defendant negligently, knowingly, intentionally, maliciously,

willfully, wantonly, and/or recklessly withheld, misrepresented and/or concealed information in

its possession regarding extensive research, testing, and lack thereof, and/or studies of human and

animal exposure to C-8 that undeniably demonstrated a causal connection between C-8 and an

increased risk of damage to both humans and animals, as well as other relevant medical, legal,

scientific and/or ethical information to which Plaintiff was entitled prior to making the decision to

purchase and consume the contaminated drinking water, and which Defendant had a duty to

disclose, as indicated above.

       171.    Plaintiff was injured, as alleged above, as a direct and proximate result of the acts

and/or omissions detailed herein of Defendant, its agents, employees, conspirators and/or joint

ventures, by purchasing and consuming the contaminated drinking water.

       172.    In addition to negligently, knowingly, intentionally, maliciously, willfully,



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wantonly, and/or recklessly withholding, misrepresenting and/or concealing material information

from Plaintiff, other exposed individuals and the general public, Defendant also committed fraud

against them by affirmatively representing to Plaintiff, other exposed individuals and the general

public that the Releases and exposure to C-8 were harmless and/or presented no risk of harm when

Defendant knew or reasonably should have known, and with utter disregard and recklessness as to

whether such representations were in fact accurate, that the Releases and exposure to C-8 had and

were continuing to cause injury to both animals and humans, including Plaintiff, and/or an

increased risk of such injury. Therefore, Defendant negligently, knowingly, intentionally,

maliciously, willfully, wantonly, and/or recklessly made false representations to Plaintiff, other

exposed individuals and the general public.

       173.    As such, Defendant voluntarily assumed a continuous duty of care to provide

Plaintiff, other exposed individuals and the general public with truthful representations regarding

any actual and/or potential harm resulting directly and proximately from Defendant’s acts and/or

omissions.

       174.    Defendant did not exercise ordinary care in affirmatively making false

representations and/or omissions to Plaintiff, other exposed individuals and the general public, in

that those individuals relied upon and based their belief on such representations and/or omissions

that the contaminated drinking water was safe to purchase and consume, continued to do so, and

thereby did not seek medical treatment and/or remedies for their past and continued harmful

exposure to C-8.

       175.    Furthermore, Defendant affirmatively made such false representations and/or

omissions to Plaintiff, other exposed individuals and the general public with the intention of

misleading them into such reliance. Due to Defendant’s superior knowledge regarding the Releases



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and exposure to C-8, that reliance was therefore justifiable.

        176.     As a direct and proximate result of their justified reliance on Defendant’s

affirmative and fraudulent representations and/or omissions, Plaintiff, other exposed individuals

and the general public continued to purchase and consume the contaminated drinking water, and

thereby suffered damage and injury as alleged herein. Specifically, Plaintiff was caused to suffer

serious and dangerous injuries, including kidney cancer as well as other severe and personal

injuries which are permanent and lasting in nature, physical pain and mental anguish, including

diminished enjoyment of life, as well as the need for lifelong medical treatment and/or

medications.

        177.     As a direct and proximate result of the foregoing acts, representations and/or

omissions, Plaintiff requires and/or will require more health care and services and did incur

medical, health, incidental and related expenses. Plaintiff is informed and believes and further

alleges that Plaintiff will in the future be required to obtain further medical and/or hospital care,

attention, and services.

               THIRD CAUSE OF ACTION AS AGAINST THE DEFENDANT
                       CONSPIRACY AND STRICT LIABILITY

        178.     Plaintiff repeats, reiterate and reallege each and every allegation of this Complaint

contained in each of the foregoing paragraphs inclusive, with the same force and effect as if more

fully set forth herein.

        179.     Defendant maliciously conspired with independent testing organizations, agencies,

laboratories and/or water companies to conduct acts and/or omissions including but not limited to

the following:

                 (a)     Illegally and/or wrongfully operating and/or managing the Plant and/or
                 conducting other operations and activities at the Plant in such a manner as to
                 illegally and/or wrongfully cause, permit and/or allow the Releases that

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               contaminated the drinking water and thereby the blood/body of Plaintiff.

               (b)    Making unlawful and affirmative misrepresentations and/or unlawfully
               concealing material facts regarding the Releases, C-8 exposure and the
               contamination of drinking water.

               (c)    Knowingly making illegal and/or wrongful false representations and/or
               knowingly concealing material information from Plaintiff, other exposed
               individuals and the general public regarding the Releases, C-8 exposure and the
               contamination of drinking water.

               (d)     Illegally and/or wrongfully avoid minimization, abatement and/or
               treatment of the Releases.

               (e)   Illegally and/or wrongfully avoiding proper notification to the public and/or
               government officials regarding the ongoing Releases.

               (d)    Illegally and/or wrongfully avoiding correcting, clarifying, rescinding
               and/or qualifying its misrepresentations to Plaintiff, other exposed individuals and
               the general public that the Releases and its acts and/or omissions were not causing
               any physical harm and/or damage to them, or that the contaminated drinking water
               was safe to purchase and consume.

       180.    Through the above detailed conspiratorial acts and/or omissions, Defendant and its

conspirators wrongfully and/or unlawfully hid Defendant’s unlawful Releases, with the purpose

of wrongfully and/or unlawfully deceiving Plaintiff, other exposed individuals and the general

public into purchasing and consuming the drinking water knowingly contaminated by C¬8, and/or

to avoid any potential lost profits and other economic harm or loss to Defendant.

       181.    The above-detailed conspiracy, in addition to further unlawful actions by

Defendant’s and its co-conspirators, including affirmative misrepresentations as to the safety of

the contaminated drinking water, violated West Virginia and federal law, including but not limited

to West Virginia Code Section 22-11.1 et seq., and 15 U.S.C. §§ 2607 and 2614, 33 U.S.C. §§

1311(a) and 1342, and 42 U.S.C. §§ 300i-1 and 6921-6939e.

       182.    The conspiracy and wrongful and/or unlawful acts, misrepresentations and/or

omissions of Defendant and its co-conspirators directly and proximately caused Plaintiff to

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justifiably rely on such acts and/or misrepresentations, thereby directly and proximately causing

the injury to Plaintiff and resulting damages detailed herein.

       183.    At all relevant times in making such misrepresentations, Defendant and its co-

conspirators knew that the contaminated drinking water contained unhealthy and dangerous levels

of C-8, and that drinking such contaminated drinking water would result in injury to the consumer.

       184.    At all relevant times in making such misrepresentations, Defendant was aware of

the high probability that serious harm would result from the above-detailed misconduct of it and

its co-conspirators.

       185.    At all relevant times in making such misrepresentations, Defendant profited

hundreds of millions of dollars from that misconduct of it and its co-conspirators. Defendant

remains in good financial standing.

       186.    Furthermore, Defendant made absolutely no effort to disclose and/or remedy the C-

8 pollution even after the above-detailed misconduct had been discovered.

       187.    The Releases and above-detailed acts and/or omissions of Defendant constitute

abnormally dangerous activities in that they caused a highly increased risk of great harm to

Plaintiff, other exposed individuals and the general public, in addition to the extent to which the

Releases, acts and/or omissions of Defendant and its use of C-8 were not common activities or

uses, the inappropriateness of carrying on the Releases and Defendant’s acts and/or omissions to

that area and its inhabitants, and the extent to which the danger of the Releases and Defendant’s

acts and/or omissions vastly outweighs the value to the community.

       188.    The harm and injury suffered by Plaintiff as a direct and proximate result of

Defendant’s acts and/or omissions was the type of harm that makes Defendant’s acts and/or

omissions abnormally dangerous.



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        189.    Therefore, Defendant is strictly liable to Plaintiff for the injuries and damages

which Plaintiff suffered that were the direct and proximate result of the Releases and Defendant’s

acts and/or omissions.

        190.    As a direct and proximate result of the Releases and the above-detailed acts and/or

omissions, Plaintiff suffered damage and injury as alleged herein. Specifically, Plaintiff was

caused to suffer serious and dangerous injuries, including kidney cancer as well as other severe

and personal injuries which are permanent and lasting in nature, physical pain and mental anguish,

including diminished enjoyment of life, as well as the need for lifelong medical treatment and/or

medications.

        191.    As a direct and proximate result of the foregoing acts, representations and/or

omissions, Plaintiff requires and/or will require more health care and services and did incur

medical, health, incidental and related expenses. Plaintiff is informed and believes and further

alleges that Plaintiff will in the future be required to obtain further medical and/or hospital care,

attention, and services.

               FOURTH CAUSE OF ACTION AS AGAINST THE DEFENDANT
                             NEGLIGENCE PER SE

        192.    Plaintiff repeats, reiterate and reallege each and every allegation of this Complaint

contained in each of the foregoing paragraphs inclusive, with the same force and effect as if more

fully set forth herein.

        193.    West Virginia states, including but not limited to, West Virginia Code Section 22-

11.1 et seq., and one or more federal statutes, including but not limited to 15 U.S.C. §§ 2607 and

2614, 33 U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 300i-1 and 6921-6939e, impose certain

duties of care on Defendant in regard to its acts and/or omissions towards Plaintiff and/or

Plaintiff’s safety.

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        194.    By performing acts and/or omissions that resulted in the Releases, Defendant

thereby violated, and continued to violate, and/or breach those applicable West Virginia and/or

federal statues imposing such duties, including but not limited to West Virginia Code Section 22-

11.1 et seq., 15 U.S.C. §§ 2607 and 2614, 33 U.S.C. §§ 1311(a) and 1342, and 42 U.S.C. §§ 300i-

1 and 6921-6939e, constituting negligence per se, including liability for all injuries to Plaintiff

associated with the Release.

        195.    As a direct and proximate result of Defendant’s violation of law and breach of its

statutory duties, including but not limited to those listed above, Plaintiff suffered economic and

physical damage and injury as alleged herein for which Defendant is therefore liable. Specifically,

Plaintiff was caused to suffer serious and dangerous injuries, including kidney cancer, as well as

other severe and personal injuries which are permanent and lasting in nature, physical pain and

mental anguish, including diminished enjoyment of life, as well as the need for lifelong medical

treatment and/or medications.

        196.    As a direct and proximate result of the foregoing acts, representations and/or

omissions, Plaintiff requires and/or will require more health care and services and did incur

medical, health, incidental and related expenses. Plaintiff is informed and believes and further

alleges that Plaintiff will in the future be required to obtain further medical and/or hospital care,

attention, and services.

               FIFTH CAUSE OF ACTION AS AGAINST THE DEFENDANT
                  PAST AND CONTINUING TRESPASS AND BATTERY

        197.    Plaintiff repeats, reiterate and reallege each and every allegation of this Complaint

contained in each of the foregoing paragraphs inclusive, with the same force and effect as if more

fully set forth herein.

        198.    At all relevant times, Defendant possessed knowledge that the Releases were

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contaminating active sources of drinking water, including that of Plaintiff, with harmful levels of

C-8, which it knew to be toxic to humans and animals and would remain in the blood and/or body

of an exposed individual for an unacceptably long period of time.

       199.    However, despite possessing such knowledge, Defendant continued to cause

Releases resulting in C-8 contamination of active drinking water sources, including that of

Plaintiff, which subsequently causes harmful physical contact with Plaintiff, other exposed

individuals and the general public.

       200.    Therefore, Defendant clearly demonstrated intent and/or reckless indifference with

regard to the Releases and the harm they caused and will cause by continuing to perform the above

detailed acts and/or omissions despite possessing knowledge that such actions would result in

harmful physical contact with Plaintiff, other exposed individuals and the general public.

       201.    These intentional acts and/or omissions by Defendant resulted in the Releases, and

the continued threat of release of C-8, onto and/or into the blood and/or body of Plaintiff. That

contact and the otherwise unlawful and harmful invasion, contact and/or presence of C-8 onto

and/or into Plaintiff’s blood and/or body interfere with Plaintiff’s rightful use and possession of

Plaintiff’s blood and/or body.

       202.    At all relevant times, the C-8 present in and/or on Plaintiff’s blood and/or body

originated from the Plant and is therefore the property of Defendant.

       203.    The above-detailed invasion of C-8 in and/or on Plaintiff’s blood and/or body was

unconsented and without permission or authority from Plaintiff or anyone authorized to grant such

permission, and continued to be so.

       204.    Defendant acted intentionally with the knowledge and/or belief that the contact,

presence and/or invasion of C-8 with, onto and/or into Plaintiff’s blood and/or body were



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substantially certain to result from those very acts and/or omissions.

        205.    Defendant’s intentional acts and/or omissions resulted directly and/or indirectly in

harmful contact with Plaintiff’s blood and/or body.

        206.    The continued presence of C-8 in and/or on Plaintiff’s blood and/or body is

offensive, unreasonable and/or harmful, and thereby constitutes a continuing and/or permanent

trespass and battery.

        207.    As a direct and proximate result of the foregoing acts and omissions, Plaintiff

suffered economic and physical damage and injury as alleged herein for which Defendant is

therefore liable. Specifically, Plaintiff was caused to suffer serious and dangerous injuries,

including kidney cancer as well as other severe and personal injuries which are permanent and

lasting in nature, physical pain and mental anguish, including diminished enjoyment of life, as well

as the need for lifelong medical treatment and/or medications, and fear of redeveloping cancer.

        208.    As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

requires and/or will require more health care and services and did incur medical, health, incidental

and related expenses. Plaintiff is informed and believes and further alleges that Plaintiff will in the

future be required to obtain further medical and/or hospital care, attention, and services.

         SIXTH CAUSE OF ACTION AS AGAINST THE DEFENDANT
   NEGLIGENT, INTENTIONAL, AND RECKLESS INFLICTION OF EMOTIONAL
                             DISTRESS

        209.    Plaintiff repeats, reiterate and reallege each and every allegation of this Complaint

contained in each of the foregoing paragraphs inclusive, with the same force and effect as if more

fully set forth herein.

        210.    Defendant’s acts and/or omissions, including continuing to pollute the environment

and subsequently exposing Plaintiff, other exposed individuals and the general public to dangerous



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and harmful levels of C-8, despite its knowledge of a causal link between such exposure and

probable harm and/or unacceptable risk of harm to exposed individuals, were negligent, intentional

and/or reckless.

       211.    Defendant negligently, knowingly, intentionally, maliciously, willfully, wantonly,

and/or recklessly withheld and concealed material information from Plaintiff, other exposed

individuals and the general public that they were being exposed to harmful levels of C-8.

       212.    Defendant also affirmatively misrepresented to Plaintiff, other exposed individuals

and the general public that the Releases and C-8 were not and would not cause or create any

increased risk of harm to them, despite possessing knowledge at the time of making such

misrepresentations that the Releases and C-8 exposure in general was causing and would continue

to cause harm and/or increased risk of harm to exposed individuals, including Plaintiff.

       213.    At all relevant times, it was foreseeable, and Defendant was certain and/or

substantially certain, that its acts and/or omissions would cause emotional distress to Plaintiff,

other exposed individuals and the general public.

       214.    Defendant’s acts/and or omissions were extreme, outrageous, intolerable and/or

offended the generally accepted standards of decency and morality.

       215.    Defendant acted in an extreme, outrageous and intolerable manner which offended

the generally accepted standards of decency and morality by continuing to expose Plaintiff, other

exposed individuals and the general public to the Releases and harmful levels of C-8, continuing

to affirmatively misrepresent to such individuals that the Releases and C-8 exposure were not and

would not cause harm or increased risk of harm to them, and/or continuing to withhold and/or

conceal from Plaintiff, other exposed individuals and the general public material information on

such issues, despite possessing knowledge that the Releases and C-8 exposure had caused and



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would continue to cause harm and/or increased risk of harm to exposed individuals.

       216.      As a direct and proximate result of the Defendant’s acts and/or omissions, and

concealment and/or affirmative misrepresentations, Plaintiff suffered economic and physical

damage and injury as alleged herein for which Defendant is therefore liable. Specifically, Plaintiff

was caused to suffer serious and dangerous injuries, including kidney cancer as well as other severe

and personal injuries which are permanent and lasting in nature, physical pain and mental anguish,

including diminished enjoyment of life, as well as the need for lifelong medical treatment and/or

medications, and fear of redeveloping cancer.

       217.      As a direct and proximate result of the foregoing acts and/or omissions, Plaintiff

requires and/or will require more health care and services and did incur medical, health, incidental

and related expenses. Plaintiff is informed and believes and further alleges that Plaintiff will in the

future be required to obtain further medical and/or hospital care, attention, and services.

          SEVENTH CAUSE OF ACTION AS AGAINST THE DEFENDANT
       UNFAIR AND DECEPTIVE PRACTICES (W.VA. CODE §§ 46A-6-101, 102)

       218.      Plaintiff hereby incorporates by reference all allegations contained in the preceding

paragraphs, as though fully set forth herein.

       219.      In October and November of 2000 and July of 2001, DuPont co-drafted, aided in

publishing, and encouraged dissemination and circulation of written information through

correspondence to the public exposed to known C-8 contaminates and did induce, directly and

indirectly, West Virginia residents, including Plaintiff, other exposed individuals, and the public

at large, to enter into contracts and agreements to purchase and/or continue purchasing the drinking

water, and to in fact purchase such drinking water when the published information was known and

calculated by the DuPont to mislead Plaintiff, other exposed individuals, and the public at large in

West Virginia.

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       220.    DuPont, through the publication of incomplete and false information regarding the

safety of the drinking water, engaged in and aided in unfair methods of competition and unfair or

deceptive practices as set forth in W. Va. Code § 46A-6-102(f), including, but not limited to:

advertising, printing, displaying, publishing, distributing or broadcasting, or causing to be

advertised, printed, displayed, published, distributed or broadcast, a statement or representation

with regard to the sale of goods which was false, misleading, or deceptive, and/or which omitted

to state material information which was necessary to make the statements made therein not false,

misleading or deceptive and also by engaging in conduct which created a likelihood of confusion

or of misunderstanding.

       221.    The acts and omissions described above violated W. Va. Code § 46A-6-101, et seq.

in that DuPont withheld information about the deleterious effects of the Materials with the intent

that Plaintiff, other exposed individuals, and the public at large purchase and consume

contaminated drinking water when the DuPont knew if the truth were published or provided to

Plaintiff, other exposed individuals, and the public at large that they would not purchase or

consume the contaminated drinking water.

       222.    As a proximate result of the violation by DuPont of W. Va Code § 46A-6-101, et

seq., Plaintiff, other exposed individuals, and the public at large suffered an ascertainable loss of

money or property and they are entitled to recover damages as provided by such statute.

          EIGHTH CAUSE OF ACTION AS AGAINST THE DEFENDANT
       UNFAIR AND DECEPTIVE PRACTICES (W.VA. CODE §§ 46A-6-101, 102)

       223.    Plaintiff hereby incorporates by reference all allegations contained in the preceding

paragraphs, as though fully set forth herein.

       224.    DuPont’s acts and omissions as described above were conducted with such

intentional, malicious, wanton, willful, grossly negligent, and/or reckless indifference to the rights

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of Plaintiff, other exposed individuals, and the public at large that DuPont is liable for punitive

damages.

        225.    DuPont’s acts and omissions as described above were conducted with such flagrant

disregard for the safety and wellbeing of Plaintiff, other exposed individuals, and the public at

large that DuPont is liable for punitive damages.

                                      PRESERVATION CLAIMS

        226.    Plaintiff hereby incorporates by reference all allegations contained in the preceding

paragraphs, as though fully set forth herein.

        227.    Many States have recently enacted tort reform statutes with “exclusive remedy”

provisions. Courts have yet to determine whether these exclusive remedy provisions eliminate or

supersede, to any extent, state common law claims. If during the pendency of this action this court

makes any such determination, Plaintiff hereby specifically makes claim to and preserves any State

claim based upon any exclusive remedy provision, under any state law this court may apply, to the

extent not already alleged above.

        228.    To the extent that Defendant(s) may claim that one or more of Plaintiff’s claims

are barred by the applicable statute of limitations, Plaintiff asserts that the statute of limitations is

and has been tolled by Plaintiff’s discovery that Decedent’s injury(ies) was/were caused by

Defendant’s actions/inactions, all as more fully set forth in this Complaint, after the injury

sustained by Decedent. Further, Plaintiff asserts that the statute of limitations is and has been tolled

as a result of the class action procedures/settlement.

                                      PRAYER FOR RELIEF

                WHEREFORE, Plaintiff, Lester Putney, demands judgment against Defendant on

each of the above-referenced claims and Causes of Action and as follows:



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  1.      Awarding compensatory damages to Plaintiff for past and future damages,
  including but not limited to pain and suffering for severe and permanent personal injuries
  sustained by Plaintiff, and health care costs, together with interest and costs as provided by
  law;

  2.      Punitive and/or exemplary damages for the wanton, willful, fraudulent, reckless
  acts of Defendant who demonstrated a complete disregard and reckless indifference for the
  safety and welfare of the general public and to Plaintiff in an amount sufficient to punish
  Defendant and deter future similar conduct;

  3.     Awarding Plaintiff reasonable attorneys’ fees;

  4.     Awarding Plaintiff the costs of these proceedings;

  5.     Pre and post-judgment interest;

  6.     Trial by Jury; and

  5.     Such other and further relief as this Court deems just and proper


                                   JURY DEMAND

       Plaintiff demands a trial by jury of all claims asserted in this Complaint.

                                         Respectfully submitted,


                                         /s/ Clayton J. Fitzsimmons
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